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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS. Civil/Criminal No.: 21-CR-175 (TJK)

ETHAN NORDEAN et al

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